       Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 1 of 10



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                       )
GRANDE COMMUNICATIONS                      No. 1:17-cv-00365-LY
                                       )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )
                                       )
                                       )

        DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
         RESPONSE IN OPPOSITION TO THE RECORDING INDUSTRY
      ASSOCIATION OF AMERICA’S MOTION FOR PROTECTIVE ORDER
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 2 of 10



                                        INTRODUCTION

       The Recording Industry Association of America’s (“RIAA”) motion for protective order

concerning Defendant Grande Communications Networks LLC’s (“Grande”) Rule 45 deposition

subpoena is an improper attempt to shield highly relevant and accessible information from

discovery, based on nothing more than blanket, unsubstantiated objections of privilege, breadth,

burden, and relevance.

       The RIAA’s efforts to thwart Grande’s discovery are belied by its own admission that it

is not a true third party. According to the RIAA, it was initially approached in 2016 by

Rightscorp, Inc., which sent the notices of alleged copyright infringement upon which Plaintiffs’

entire case is founded. The RIAA asserts that it then engaged Rightscorp on Plaintiffs’ behalf,

and subsequently coordinated Plaintiffs’ institution and continued litigation of this case. In light

of the RIAA’s crucial and substantial role in developing and maintaining this litigation, its

objections based on burden and overbreadth lack merit.

       Similarly, the RIAA’s objections based on the common legal interest privilege and work

product doctrine do not align with the facts, and fundamentally suffer from a lack of evidentiary

support. To date, the RIAA has refused to produce a copy of the very agreement with

Rightscorp that it relies on as the sole basis for its claims of privilege. Unsupported blanket

assertions of privilege provide no basis for completely foreclosing Grande from obtaining

critically relevant information from a highly interested and involved party. To the extent the

RIAA has valid privilege or work product objections, its counsel can offer appropriate objections

and instructions in the deposition.

       As explained in detail below, the Court should therefore deny RIAA’s motion for a

protective order.




                                                 1
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 3 of 10



                                           ARGUMENT

       The RIAA fails to show good cause for a protective order. Grande’s noticed topics for

deposition seek information that is directly relevant to this case. The RIAA certainly possesses

relevant information, as it admits that it “helped coordinate Plaintiffs’ litigation efforts, providing

legal advice and discussing legal strategy from the earliest planning stages through the conduct

of the litigation.” RIAA Mot. for Protective Order at 1 (ECF No. 107). Grande is entitled to

seek relevant information from RIAA in its claimed role as liaison between Plaintiffs and

Rightscorp. The Court should reject the RIAA’s attempt to shield from discovery entire

categories of relevant information going to the heart of the issues in this case, based on the

convenient technicality that the RIAA is not a named plaintiff.

I.     THE RIAA ADMITS IT IS NOT A TRUE “NON-PARTY” AND FAILS TO
       DEMONSTRATE GOOD CAUSE FOR ANY PROTECTIVE ORDER RELATED
       TO DISPUTED CATEGORIES OF TESTIMONY

       The RIAA’s motion for protective order suffers from an internal inconsistency, as the

RIAA seeks to use its role and relationship with Plaintiffs and Rightscorp as both a sword and a

shield. On the one hand, where it appears advantageous, the RIAA paints itself as highly

involved in this litigation to justify its blanket claims of privilege concerning a multitude of

topics relevant to this litigation. Yet in other instances, the RIAA portrays itself as a distant

“non-party” to support its claims that permitting Grande access to relevant knowledge and

information in its possession would be overly burdensome and oppressive. The RIAA cannot

have it both ways.

       The RIAA’s role necessarily exposed it to a bevy of information relevant to this case—

perhaps even more so than Plaintiffs. To the extent information is truly not reasonably available

or does not exist, the RIAA’s corporate witness may appropriately explain as much in the




                                                  2
          Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 4 of 10



deposition, assuming adequate preparation occurred. But the RIAA fails to demonstrate good

cause for erecting the preliminary barriers it seeks through its protective order, which would cut

off both Grande and the Court’s access to relevant information. Because the RIAA makes no

detailed showing of burden, privilege, or irrelevance, good cause does not exist for a protective

order.

         A.     Category 1: The RIAA Fails to Introduce Sufficient Evidence to Satisfy Its
                Burden to Establish Common Interest Privilege and Work Product Protection

                                    Topics: 3, 4, 5, 10, and 22

         These topics seek information from the RIAA about core issues in this case, such as the

reasons why Rightscorp sent notices of alleged infringement to Grande, why the RIAA engaged

Rightscorp in connection with those notices and this litigation, agreements between the RIAA

and Rightscorp, facts known to the RIAA supporting direct infringement claims against any

Grande subscriber, and the RIAA’s communications with Rightscorp. See RIAA’s Obj. & Resp.

to Rule 45 Subpoena (ECF No. 107-1). The RIAA fails to satisfy its burden to demonstrate that

the common interest privilege or work product doctrine completely shields from discovery any

testimony on these topics.

         The only “evidence” relied on by RIAA in its motion is an interrogatory response

discussing an agreement between the RIAA and Rightscorp, which has never been produced.

There is no way for Grande or the Court to meaningfully assess the RIAA’s claims without

viewing this agreement. Moreover, even if the agreement exists and has the represented legal

effect, merely invoking such an agreement does not demonstrate that each and every piece of

information the RIAA may possess on these topics is privileged. For instance, certain

communications between or among Rightscorp, the RIAA, and Plaintiffs may not be privileged

because they do not involve attorneys or concern legal advice, because they predated the



                                                 3
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 5 of 10



execution of any common interest agreement, or for many other potential reasons. In short, the

RIAA has not come close to demonstrating that any and all potential questioning on these topics

is properly privileged.

       As a result, the RIAA has failed to meet its burden of demonstrating that the privilege

applies. See EEOC v. BDO USA, L.L.P., 876 F.3d 690, 695 (5th Cir. 2018) (“Determining the

applicability of the privilege is a highly fact-specific inquiry, and the party asserting the privilege

bears the burden of proof.”) (quotations & citations omitted); see also In re Veiga, 746 F. Supp.

2d 27, 33-34 (D.D.C. 2010) (“Under the federal common law, the proponent bears the burden of

demonstrating the applicability of any asserted privilege.”). The RIAA’s failure to produce the

agreement effectively prevents any assessment of the scope and contours of the putative common

interest. This is insufficient because the RIAA “must adduce competent evidence in supports of

its claims” of privilege. Vega, 746 F. Supp. 2d at 33-34 (“[T]he proponent of the privilege must

offer more than just conclusory statements, generalized assertions, and unsworn averments of its

counsel.”); BDO, 876 F.3d at 696 (“[S]imply describing a lawyer’s advice as ‘legal,’ without

more, is conclusory and insufficient to carry out the proponent’s burden of establishing attorney-

client privilege.”) (citation omitted). The RIAA’s vague and unsupported privilege claims must

also fail because “[a]mbiguities as to whether the elements of a privilege claim have been met

are construed against the proponent.” BDO, 876 F.3d at 695 (citation omitted).

       Furthermore, even “[i]f a common interest agreement has been proved to exist, the party

seeking to rely on the doctrine must still demonstrate that the specific communications at issue

were designed to facilitate a common legal interest; a business or commercial interest will not

suffice.” See Intex Recreation Corp. v. Team Worldwide Corp., 471 F. Supp. 2d 11, 16 (D.D.C.

2007); see also BDO, 876 F.3d at 696 (communications with an attorney acting in a business




                                                  4
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 6 of 10



capacity are not privileged). The RIAA fails in this regard as well. It is readily apparent that

Rightscorp has absolutely no legal interest at stake in this litigation because it has no interest in

any of the copyrights Plaintiffs are seeking to enforce. The RIAA offers no authority for

applying the common legal interest doctrine to what is fundamentally a business relationship

between Rightscorp, the RIAA, and Plaintiffs.

       The RIAA’s blanket assertions of work product protection fare no better, as they are

based solely on the bare assertions of the RIAA’s counsel. No evidence has been introduced to

support the claim that Rightscorp was operating as a legal consultant rather than a business

associate during any relevant time period. The fact that the RIAA and Plaintiffs are using

Rightscorp as a source of evidence in this case does not automatically transform Rightscorp’s

role as a provider of business services into the role of a legal consultant.

       Therefore, because the RIAA fails to carry its burden to establish both the applicability of

the common legal interest privilege and the work product doctrine, neither doctrine permits the

RIAA to refuse to prepare its corporate witness to provide the testimony sought in topics 3, 4, 5,

10, and 22. Rather, the appropriate course of action is to move forward with these noticed topics

knowing that specific privilege objections may be lodged when necessary and appropriate, as is

the typical procedure in depositions. See, e.g., S.E.C. v. Kramer, 778 F. Supp. 2d 1320, 1328

(M.D. Fla. 2011) (a “designated deponent retain[s] the right to refuse to answer on the basis of

privilege,” but “to assert a blanket claim of privilege in response to a Rule 30(b)(6) notice creates

an unworkable circumstance in which a defendant loses a primary means of discovery without a

meaningful review of his opponent’s claim of privilege”).




                                                  5
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 7 of 10



       B.      Category 2: The RIAA’s Awareness and Knowledge of the Capabilities of
               BitTorrent Monitoring Companies and Other ISPs Is Relevant and Proportional to
               the Needs of this Case

                             Topics: 1, 2, 3, 6, 9, 12, 14, 16, 18, and 20

       The RIAA’s primary objection to this category of testimony is burden, followed by

breadth and relevance. As with the RIAA’s privilege assertions, these objections conveniently

ignore the admitted repository of relevant knowledge that RIAA holds as the recording

industry’s trade association and its role in instituting and coordinating this litigation. As a result,

the information sought by Grande is readily available to the RIAA. The RIAA’s bare assertions

of burden provide no plausible basis for a protective order.

       Moreover, the breadth and relevance issues are fundamentally different from the situation

that the RIAA relies on, by way of analogy to the Magistrate Judge’s ruling on Plaintiffs’ motion

to compel discovery from Patriot earlier in this case. With Patriot, the issue was whether

Patriot’s interactions with other Internet service providers (“ISPs”) were “relevant to Grande’s

policies and procedures relating to alleged copyright infringement by Grande’s subscribers.”

Order at 2, ECF No. 60. Grande is not making that relevance argument. Rather, information the

RIAA possesses about copyright monitoring systems in general is relevant to Rightscorp’s

ability—potentially highlighted by its relative ability, compared to other systems—to accurately

monitor and detect copyright infringement through BitTorrent, a key issue in this case. And

because the RIAA claims to have initially engaged Rightscorp—thereby taking at least some

responsibility for Plaintiffs’ copyright enforcement efforts—the RIAA certainly appears to

possess such information that may not be available from Plaintiffs. This includes information

regarding, among other things, the effectiveness and capabilities of copyright monitoring and

detection systems in general, and communications from other ISPs regarding these systems.




                                                   6
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 8 of 10



       The Court should deny the RIAA’s attempt to prevent discovery on this relevant subject

matter, particularly given the RIAA’s direct involvement in this case.

       C.      Category 3: The RIAA’s Awareness and Knowledge of Flaws and Deficiencies
               in Rightscorp’s Monitoring and Detection System is Directly Relevant to
               Plaintiffs’ Ability to Prove Underlying Acts of Direct Copyright Infringement

                               Topics: 8, 11, 13, 15, 17, 19, and 23

       In seeking a protective order regarding topics 8, 11, 13 15, 17, 19, and 23, the RIAA is

attempting to restrict access to information regarding flaws and deficiencies in Rightscorp’s

alleged system for monitoring BitTorrent activity, and its ability to detect conduct that actually

constitutes copyright infringement. The RIAA offers an extreme, self-serving interpretation of

these topics, claiming that Grande is seeking to require the RIAA to educate a witness on in-

depth technical details concerning the functionality of Rightscorp’s system. In reality, these

topics simply seek information about Rightscorp’s system that is known and readily accessible to

the RIAA, such as information about Rightscorp’s system the RIAA has obtained from

Rightscorp, reported flaws and weaknesses in the Rightscorp system that the RIAA has

discovered through its role as a trade association for copyright owners, and the RIAA’s

knowledge of inaccuracies in Rightscorp’s notices. See ECF No. 107-1.

       The fact that Grande may obtain information responsive to these topics from Rightscorp

is irrelevant. The RIAA may well have information Grande cannot obtain from Rightscorp, such

as information the RIAA independently acquired or generated about the capabilities of

Rightscorp’s system. To the extent the RIAA has relevant information concerning the operation

and capabilities of Rightscorp’s system, Grande should be permitted to obtain it.

       In sum, the requested information is plainly relevant and discoverable, and given the

RIAA’s integral role in engaging Rightscorp on Plaintiffs’ behalf, it cannot legitimately argue




                                                 7
         Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 9 of 10



that producing a witness to testify on these topics would be unduly burdensome. The Court

should therefore deny the RIAA’s request for a protective order concerning these topics.

       D.      Category 4: There Does Not Appear to Be Any Dispute concerning These Topics

                                         Topics: 7 and 10

       Based on the RIAA’s position in its motion, a protective order is not necessary for these

topics. Grande is not seeking to require the RIAA to prepare its witness(es) to testify about

information obtained in discovery in this case. As such, there is no need for a protective order

regarding topics 7 and 10.

                                         CONCLUSION

       For the foregoing reasons, Grande respectfully requests that the Court deny the RIAA’s

Motion for Protective Order and order any other relief the Court deems just and proper.



Dated: July 13, 2018.


                                                    By: /s/ Richard L. Brophy
                                                        Richard L. Brophy
                                                        Zachary C. Howenstine
                                                        Margaret R. Szewczyk
                                                        Armstrong Teasdale LLP
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        Telephone: 314.621.5070
                                                        Fax: 314.621.5065
                                                        rbrophy@armstrongteasdale.com
                                                        zhowenstine@armstrongteasdale.com
                                                        mszewczyk@armstrongteasdale.com

                                                        Attorneys for Defendant GRANDE
                                                        COMMUNICATIONS NETWORKS LLC




                                                8
        Case 1:17-cv-00365-LY Document 117 Filed 07/13/18 Page 10 of 10



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on July 13, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy




                                                9
